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                                                                             Pg 1 of 7
     Fill in this information to identify your case:

     United Slates Bankruptcy Court for the:

     ____                 New York
     Southern 0istrict of ___   _

     Case nurnber (lfMown); ___________ Chapter you are filing under:




l
                                        D Chapter7
                                        0 Chapter 11
                                        D Chapter 12
                                        D Chapter 13                                                                                  D Check if this is an
                                                                                                                                         amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                      12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint cas-nd in joint cases, these forms use you to ask for information from both debtors. For example, If a form asks, "Do you own a car,''
the answer would be yes if either debtor owns a car. When information Is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 In all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number




■,,,
(If known). Answer every question.


                Identify Yourself

                                        About Debtor 1:                                                About Debtor 2 (Spouse Only In a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture
       identlflcalion (for example.                                                                    First name
       your drive(s license or
       passport).                       Middle name                                                    Middle name
       Bring your picture
       identification to your meeting   Last name
                                                           S'�c9 :\\S                                  Last name
       with the trustee.
                                        Suffix (Sr_, Jr., 11, Ill)                                     Suffix (Sr•. Jr.. II. Ill)




2. All other names you
   have used in the last 8               Flrst name                                                    Firs! name
   years
       Include your married or           Middle name                                                   Middle name
       maiden names.
                                         Last name                                                     Last name


                                         First name                                                     First name

                                         Middle name                                                   Mlddle name

                                         Las1 name                                                      Last name




3.     Only the last 4 digits of
                                         XXX                                                           XXX       - xx- _________
       your Social Security
       number or federal                 OR                                                            OR
       Individual Taxpayer                                                                              9 .xx - xx
       Identification number             9xx - xx
       (ITIN)
                --------�---
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Debtor 1       Panos   Papadopoulos           Seretis                                      Case number '4"'°""J,______ _________




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only In a Joint Case):


4. Any business names
   and Employer                   0 I have not used any business names or EINs.                 D      I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used In
   the last 8 years               Business name                                                Business name

   Include trade names and
   doing business as names       Business name                                                 Business name




s. Where you live                                                                              If Debtor 2 lives at a different addross:


                                      162 West 54th Street

                                  Number          Slteet                                       Number          s11001

                                        10D



                                    New York                           NY       10019
                                  Ctty                                 State   ZIP CO<le        City                                    State     ZIP Codo

                                    New York
                                  County                                                        Couniy


                                  If your mailing address is different from the one             If Debtor 2's mailing address is different from
                                  above, fill it in here. Nole that the court will send         yours, fill It In here. Note that lhe court will send
                                  any notices to you al this mailing address.                   any notices to this mailing address.



                                  Number          Strool                                        Number          Strec1



                                  P.O. Box                                                      P.O. Bo�



                                                                       Stale    ZIP Code        City                                     State    ZIP Code
                                  City




6. Why you are choosing           Check one:                                                    Check one:
   this district to file for                                                                    D Over the last 180 days before filing this petition,
                                  TI
                                �ver the last 180 days before filing lhis petition,
   bankruptcy                     have lived in this district longer than in any                       I have lived in this distnct longer than in any
                                 other district.                                                       other dfs1ric1.

                                  0 I have another reason. Explain.                             0 I have another reason. Explatn.
                                    (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




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Dob1or 1          Panos   Papadopoulos          Seretis
                                                                                               Case number,,.,,.,..,,,._________ _____




■,,,          Tell the Court About Your Bankruptcy Case


                                   Check one. (For a brief description of each. see Notice Required by 11 U.S.C. § 342{b) for Individuals Rl/ng


                                  1
1.    The chapter of the
      Bankruptcy Code you          for Bankruptcy (Form 2010)). Also. go to the top of page 1 and check the appropriate box.
      are choosing to file
      under                              Chapter?
                                    D Chapter 11
                                    0 Chapter 12
                                    0 Chapter 13


s. How you will pay the fee         O I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                   0 I need to pay the fee in installments. If you choose this option, sign and allach the
                                     Application for Individuals lo Pay The Filing Fee in Installments (Official Form 103A).

                                   DI request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                    By law, a judge may, but is not required lo, waive your fee, and may do so only if your income is
                                    less than 150% of the official poverty line that applies to your family size and you are unable to
                                    pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                     Chapter 7 Filing Fee Waived (Official Form 103B) and ffle it with your petition.


9. Have you filed for
   bankruptcy within the
   last a years?                                District                              When                      Case number
                                                                                              MM/ D0/YYYY

                                                Dis.tricl                             When                      Caso number
                                                                                              MM/ DD/YYYY

                                                District                              When                      Case numbor
                                                                                              MM/ DD/YYYY



10.   Are any bankruptcy
      cases pending or being
                                  (tJ    No

      flied by a spouse who is      D Yes.      Debtor ____ ____________ __ RctatJonship to you
      not filing this case with                 Distnct _ _____ __ _ when                     _____ Case number. if known._____ __
      you, or by a business                                                                   MM I DO /YYYY
      partner, or by an
      affiliate?
                                                Deb to r ____________ ______ RelaUonshlp to you

                                                O.s trlct _ _ __ _____ When                   ______ Caso number, if known,_______
                                                                                              MM/ 00 I YYYY




                                               1
      Do you rent your                   No.    Go to line 12.
                                  f� Yes.
11.
      residence?                                Has your landlord obtained an eviction Judgment against you?
                                                      No. Go to line 12.
                                                      Yes. Flll out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                      part of this bankruptcy petition.




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Debtor 1        Panos      Papadopoulos           Seretis
                                                                                                   Case number,�.._,,,.., ______________




             Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietorrt:)   ·· No. Go to Part 4.
    of any full- or part-time      l
    business?                      D Yes. Name and location of business
    A sole proprie\orship is a
    business you operate as an
    individual, and is not a                Name of buslne$s, ,r any
    separate legal entity such as
    a corporation, partnership, or
    LLC.                                    Number      Street

    H you have more than one
    sole proprietorship. use a
    separate sheet and attach it
    to this petition.
                                                  City                                                               ZIP Code


                                                 Check the approprfate box to describe your business:
                                                 D   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 D   Single Asset Real Estate (as defined in 11 u.s.c. § 101(518))
                                                 0 Stockbroker (as defined In 11 U.S.C. § 101(53A))
                                                 0 Commodity Broker (as defined in 11 U.S.C. § 101{6))
                                                 D   None or the above


13. Are you flli ng under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                 can set appropriate deadlines. If you Indicate that you are a small business debtor. you must attach your
    Bankruptcy Code and               most recent balance sheet, statement of oporations. cash-now statement, and federal income tax return or If
                                      any of these documents do not exist. follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
   debtor?
   For a definlllon of small          (0    No. I am not filing under Chapter 11.
   business debtor, see               D No.      1 am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
   11 U.S.C. § 101(510).                         the Bankruptcy Code.

                                       D Yes. I am filing under Chapter 11 and I am a small busmess debtor according to lhe definition in the
                                                 Bankruptcy Code.


            Report If Yo1.1 Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any            --Jr,No
   property that poses or is
   alleged to pose a threat            tl   Yes. What Is lhe hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
   property thatneeds                             If immediate attention Is needed, why is ii needed? _ _________________
   immediate attention?
    For example, dp you own
    perishable goods, or 1/vestock
    that must be fed, or a building
    that needs urgent repairs?
                                                  Where is the property? ___________________________
                                                                           Numbor         Street




                                                                           Clly                                          Stale       ZIP Code


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Oeb1or 1      Panos       Papadopoulos           Seretis
                                                                                                      Case number (,....,....,._1 ______________




                                     r
                             1.�NlffiO




            Explain Your Efforts to Receive a Briefing About Credit Counseling


                                         About Debtor 1:                                                  About Debtor 2 (Spouse Only In a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  u must check one:                                              You must check one:
    counseling.
                                            I received a briefing from an approved credit                 D I received a briefing from an approved credit
                                            counseling agency within the 180 days before I                   counseling agency within the 180 days before I
   The !aw req�fres that you                fifed this bankruptcy petition, and I received a                 filed this bankruptcy petition, and I received a
   receive a bnefing about credit           certiflc.ite of completion.                                      certificate of completion.
   counseling before you tile for
                                            Attach a copy of the certlllcale and the payment                 Attach a copy of the certificate and the payment
   bankruptcy You must
                                            plan. If any. that you developed with the agency.                plan. If any. that you developed with the agency.
   truthfully check one of the
   following choices. If you
   cannot do so. you are not
                                         D I received a briefing from an approved credit                  0 I received a briefing from an approved credit
                                            counseling agency within the 180 days before I                  counseling agency within the 180 days before I
   eligible to file.
                                            filed this bankruptcy petition, but t do not have a             flied this bankruptcy petition, but I do not have a
                                            certificate of completion.                                      certificate of completion.
   If you file anyway, the court
                                            Within 14 days after you file lhls bankruptcy pel!Uon,          Within 14 days after you file this bankruptcy petition,
   can dismiss your case. you
                                            you MUST file a copy or the certificate and payment             you MUST file a copy or the certificate and payment
   will lose whatever filing fee
                                            plan, if any.                                                   plan, if any.
   you paid, and your creditors
   can begin collection activities       D I certify that I asked for credit counseling                   0 1 certify that I asked for credit counseling
   again.                                   services from an approved agency, but was                       services from an approved agency, but was
                                            unable to obtain those services during the 7                    unable to obtain those services during the 7
                                            days after I made my request, and exigent                       days after I made my request, and exigent
                                            circumstances merit a 30-<lay temporary waiver                  circumstances merit a 30-<lay temporary waiver
                                            of the requirement.                                             of the requirement
                                            To ask for a 30-day temporary waiver or the                      To ask for a 30-day temporary waiver or the
                                            requirement, attach a separate sheet explaining                  requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing. why                what efforts you made to obtain the briefing, why
                                            you were unable to obtain it before you flied for                you were unable to obtain it before you filed for
                                            bankruptcy, and what exigem circumstances                        bankruptcy, and what exigent circumstanc�
                                            required you to file this case.                                  required you to file this case.
                                            Your case may be disll)issed if the court is                     Your case may be dismissed if the court is
                                            dissatisfied with your reasons for not receiving a               dissatisfied with your reasons for not receiving a
                                            briefing before you filed for bankruptcy.                        briefing before you filed for bankruptcy.
                                            If the court is satisfied with your reasons, you must            If the court is satisfied with your reasons. you must
                                            still receive a briefing within 30 days after you file.          still receive a briefing within 30 days after you file.
                                            You must file a certificate from the approved                    You must file a certificate from the approved
                                            agency, along with a copy of the payment plan you                agency, along with a copy or the payment plan you
                                            developed, If any. If you do not do so. your case                developed. If any. 11 you do not do so, your case
                                            may be dismissed.                                                may be dismissed.
                                            Any extension of the 30-day deadline is granted                  Any extension of the 30-day deadline Is granted
                                            only for cause and is limited to a maximum of 15                 only for cause and is limited to a maximum of 15
                                            days.                                                            days.

                                         0 I am not required to receive a briefing about                  0 I am not required to recei-v e a briefing about
                                           credit counseling bec.iuse of:                                   credit counseling because of:

                                             0 Incapacity.     I have a mental illness or a mental            0 lnc.ipacity.     I have a mental Illness or a mental
                                                               deficiency that makes me                                          deficiency that makes me
                                                               incapable of realizing or making                                  inc.ipable or realizing or making
                                                               rational decisions about finances.                                rational decisions about finances.
                                             0 Dlsabllity.     My physical disabiity causes me                D   Disability.    My physical disability causes me
                                                               to be unable to participate in a                                  to be unable to participate in a
                                                               briefing In person, by phone, or                                  briefing in person. by phone, or
                                                               through the Internet, even after I                                through the Internet, even after I
                                                               reasonably tried lo do so.                                        reasonably tried to do so.
                                             0 Active duty. I am currently on active military                 0 Active duty. I am currently on active mllitary
                                                            duty in a military combat zone.                                  duty In a military combat zone.

                                             If you believe you are not required to receive a                 If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a                briefing about credit counseling. you must me a
                                             motion for waiver of credit counseling with the court.           motion for waiver of credit counseling with the court.




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                 Panos    Papadopoulos          Seretis
Deblor 1                                                                                         Case number (d.,,.-•nl�-------- ----




             Answer These Questions for Reporting Purposes


                                     16a. Are your debts primarily consumer debts? Consumer debts are defined in 1 1 U.S.C. § 1 01(8)
16. What kind of debts do
                                          as •incurred by an Individual primarily for a personal, famlly. or household purpose:
     you have?
                                          D No. Go to line 16b.
                                          � Yes. Go to line 17.
                                     1   6b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                            D No. Go to line 16c.
                                            D Yes. Go to line 17.

                                     16c. State the type of debts you owe that are no I. consumer debts or business debts.



11. Are you filing under
     Chapter 7?                      0 No. I am not ming under Chapter 7. Go to llne 18.
     D o you estimate that after � Yes. I am @ing under Chapter 7. Do you estimate that after any exempt property Is excluded and
                                     C
     any exempt property is
                                              1J
                                        administrative expenses are paid that funds will be available to distnbule to unsecured creditors?
     excluded and                           No
     administrative expenses
     are paid that funds will be        D Yes
     available for distribution
                         ----::-�----------
     to unsecured creditors?

1a. How many creditors do          � 1-49                                   0 1,000-5,000                               D 25,001-50,000
     you estimate that you         0 50-99                                  D 5,001 -1 0,000                            0 50,001 -1 00,000
     owe?                            □                                      0 10,001-25,000                             0 More than 100,000
            ---------
                                     100-199
                                   D 200.999
19. How much do you                 � $0-$50,000                            0   $1.000,001 -S10 m111ion                 □ S500,000,001-S1 billion
     estimate your assets to        U $50,001-$100,000                      0   S10,000,001-$50 million                 0 S1,000,000,001-S10 bllllon
     be worth?                      D s100.001 -S5oo,ooo                    0   S50.000,001 -$100 million               0 s1 0,000,000,001-S50 billion
                                    0 S500,001-S1 million                   0   $100,000,001-S500 million               D More than S50 billion
20. How much do you                  0     SO-S50,000                      0 S1,000,001-$10 million                     D 5500,000.001 -$1 billion
    estimate your liabilities        D     sso.001-s100.ooo                D S1 0,000.001-S50 million                   D S1 .000,000.001-$10 billion
    to be?                           0     $1 00.001-S500,000              D S50,000,001-51 00 million                  □ S10.000,000,001-$50 billion
                                     D     $500,001-S1 milllon             15100,000,001 -S500 mlllion                  D More than S50 billion
@w
■
             Sign Below

                                     I have examined this petition, and t declare under penally of perjury that the information provided is true and
For you                              correct.
                                     tr I have chosen to file under Chapter 7.1 am aware 1hat I may proceed, if eligible, under Chapter 7, 11 ,12 , or 13
                                     or uue 11, United Slates Code. l understand the relief available under each chapter, and I choose to proceed
                                     under Chapter 7.
                                     If no attorney represents me and I did not pay or agree to pay someone who Is not an attorney to help me fill out
                                     this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                     I request relief in accordance with t.he chapter of title 11, United States Code, specified In this petition,
                                     I understand making a false statement, concealing property, or obtaining money or property by fraud In connection
                                     with a bankruptcy case can result ln fines up to S250,000, or imprisonment for up to 20 years. or both.
                                     18 U.S.C. §§ 152 , i341. 1 519, and 3571.

                                                                                                     X
                                                                                                         Signature of Debtor 2

                                                                                                         Executed on _______
                                                                                                                        MM I 00     /YYYY


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Deb1or 1                                                                                       Case numbor1,-1,______________




                                    I. the attorney for lhe deblor{s) named in lhis petition, declare thai I have Informed the debtor(s) about eligibility
For your attorney, if you are       to proceed under Chapter 7, 11, 12. or 13 of lille 11, United States Code. and have explained the relief
represented by one                  avallable under each chapter for which the person Is eligible. I also certify that I have delivered to the deblor(s)
                                    the notice required by 11 U.S.C.§ 342(b) and, in a case in which§ 707(b}(4)(D) applies, certify that I have no
If you are not represented          knowledge afler an Inquiry that the information in the schedules filed with the petition Is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                        Date            06 / 20 / 2018
                                        S,gnature of Atlorney for Debtor                                               MM     /     DO IYYYY



                                           Tanner Bryce Jones
                                        Prlnlo<l nomo

                                           Jones Law Firm, P.C.
                                        Flrm narr,o

                                          43 W 43rd Street
                                        Number S1ree1

                                           Suite 180

                                          New York                                                      NY                  10036
                                        City                                                           Stale           ZIP Code




                                                       (646) 820-2083                                                     bryce@sagacitylaw.com
                                        Contact phone _____________   _                                Email address



                                               5364013                                                   NY

                                        Bar number                                                      Slate




                       === -------�-�-------=-- -




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